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 6
     Attorney for Defendant Shutterfly, Inc.
 7
                                    UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9

10   L.P. et al.,                                     CASE NO. 4:20-cv-04960-KAW
11                        Plaintiffs,                 STIPULATION FOR EXTENSION OF
                                                      AGREED STAY OF PROCEEDINGS
12   vs.                                              FOR AN ADDITIONAL 30 DAYS
13   Shutterfly, Inc.                                 [PROPOSED] ORDER
14                        Defendant.
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                        STIPULATION FOR EXTENSION OF AGREED STAY OF PROCEEDINGS
                           FOR AN ADDITIONAL 30 DAYS; CASE NO. 4:20-CV-04960-KAW
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 1          Pursuant to Local Rule 7-12, the plaintiffs in the above-captioned case and Defendant
 2   Shutterfly, Inc. (“Shutterfly,” and, together with plaintiffs, “the parties”), by and through their
 3   respective counsel, hereby stipulate as follows:
 4          WHEREAS, plaintiffs filed their complaint on July 23, 2020. Dkt. 1.
 5          WHEREAS, on October 14, 2020, the parties entered into a stipulation (entered by the
 6   Court on October 15, 2020) to stay these proceedings for 60 days to engage in good faith efforts
 7   to explore a potential settlement of this matter. Pursuant to that stipulation, Shutterfly’s response
 8   to the complaint is due January 11, 2021; the parties are required to submit a joint case
 9   management statement by February 2, 2021; and an initial case management conference is
10   scheduled on February 9, 2021, at 1:30 p.m. Dkt. 28.
11          WHEREAS, since the stay was entered, the parties have exchanged certain information on
12   a voluntary basis, subject to Federal Rule of Evidence 408, and have met on several occasions to
13   discuss issues surrounding a potential settlement.
14          WHEREAS, the parties believe that an extension of their agreed-upon stay of this case by
15   an additional 30 days would provide sufficient time to complete their settlement discussions and
16   reach an agreement in principle to resolve this matter if an agreed-upon resolution is possible at
17   this stage in the proceedings.
18          WHEREAS, the parties have agreed to an extension of the stay described above in good
19   faith and not in any effort to cause unnecessary delay.
20          NOW, THEREFORE, based on the above stipulation, the parties ask the Court to enter an
21   order: (1) extending by another 30 days Shutterfly’s current deadline to respond to the complaint,
22   up to and including February 10, 2021; (2) extending the stay of this matter for another 30 days,
23   up to and including January 13, 2021; and (3) vacating the initial case management conference
24   scheduled for February 9, 2021, and rescheduling such conference to a date following expiration
25   of the stay that is convenient for the Court.
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                     STIPULATION FOR EXTENSION OF AGREED STAY OF PROCEEDINGS
                        FOR AN ADDITIONAL 30 DAYS; CASE NO. 4:20-CV-04960-KAW
       Case 4:20-cv-04960-KAW Document 29 Filed 12/14/20 Page 3 of 4



 1   Dated: December 14, 2020                     MAYER BROWN LLP
 2

 3                                                By: /s/ John Nadolenco
                                                     John Nadolenco
 4
                                                  Attorney for Defendant Shutterfly, Inc.
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 6

 7   Dated: December 14, 2020                     LABATON SUCHAROW LLP
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 9                                                By: /s/ Jonathan Gardner
                                                     Jonathan Gardner
10

11                                                WAGSTAFFE, VON LOEWENFELDT,
                                                  BUSCH & RADWICK LLP
12

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                                                  By: /s/ James M. Wagstaffe
14                                                   James M. Wagstaffe
15

16                                                Attorneys for Plaintiffs
17

18                                       ATTESTATION

19          I, John Nadolenco, hereby attest, pursuant to N.D. Cal. Local Rule 5-1(i)(3), that
     concurrence to the filing of this document has been obtained from each signatory.
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                                                              /s/ John Nadolenco
21                                                           JOH NADOLENCO

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                   STIPULATION FOR EXTENSION OF AGREED STAY OF PROCEEDINGS
                      FOR AN ADDITIONAL 30 DAYS; CASE NO. 4:20-CV-04960-KAW
       Case 4:20-cv-04960-KAW Document 29 Filed 12/14/20 Page 4 of 4



 1                                [PROPOSED] ORDER
 2   PURSUANT TO STIPULATION, IT IS SO ORDERED,
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     Date:
 4                                             Hon. Kandis A. Westmore
 5                                             United States Magistrate Judge

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                 STIPULATION FOR EXTENSION OF AGREED STAY OF PROCEEDINGS
                    FOR AN ADDITIONAL 30 DAYS; CASE NO. 4:20-CV-04960-KAW
